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                                                                        1/12/2022
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     UNITED STATES OF AMERICA
10
                            UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,               CR   2:22-cr-00012-MWF-2               2
13
               Plaintiff,                    GOVERNMENT’S NOTICE OF REQUEST FOR
14                                           DETENTION
                     v.
15
     DALLAS CLAVELLE,
16   aka Kash

17             Defendant.

18

19        Plaintiff, United States of America, by and through its counsel
20   of record, hereby requests detention of defendant and gives notice of
21   the following material factors:
22       1.    Temporary 10-day Detention Requested (§ 3142(d)) on the
23             following grounds:
24            a.    present offense committed while defendant was on release
25                  pending (felony trial),
26            b.    defendant is an alien not lawfully admitted for
27                  permanent residence; and
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 2           c.    defendant may flee; or

 3           d.    pose a danger to another or the community.

 4      2.    Pretrial Detention Requested (§ 3142(e)) because no

 5            condition or combination of conditions will reasonably

 6            assure:

 7            a.    the appearance of the defendant as required;
 8            b.    safety of any other person and the community.
 9      3.    Detention Requested Pending Supervised Release/Probation
10            Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18 U.S.C.
11            § 3143(a)):
12            a.    defendant cannot establish by clear and convincing
13                  evidence that he/she will not pose a danger to any
14                  other person or to the community;
15            b.    defendant cannot establish by clear and convincing
16                  evidence that he/she will not flee.
17      4.    Presumptions Applicable to Pretrial Detention (18 U.S.C.
18            § 3142(e)):
19            a.    Title 21 or Maritime Drug Law Enforcement Act (“MDLEA”)
20                  (46 U.S.C. App. 1901 et seq.) offense with 10-year or
21                  greater maximum penalty (presumption of danger to
22                  community and flight risk);
23            b.    offense under 18 U.S.C. §§ 924(c), 956(a), 2332b, or
24                  2332b(g)(5)(B) with 10-year or greater maximum penalty
25                  (presumption of danger to community and flight risk);
26            c.    offense involving a minor victim under 18 U.S.C.
27                  §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,
28
                                         2
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 1                  2251A, 2252(a)(1)-(a)(3), 2252A(a)(1)-2252A(a)(4),

 2                  2260, 2421, 2422, 2423 or 2425 (presumption of danger

 3                  to community and flight risk);

 4            d.    defendant currently charged with an offense described

 5                  in paragraph 5a - 5e below, AND defendant was

 6                  previously convicted of an offense described in
 7                  paragraph 5a - 5e below (whether Federal or
 8                  State/local), AND that previous offense was committed
 9                  while defendant was on release pending trial, AND the
10                  current offense was committed within five years of
11                  conviction or release from prison on the above-
12                  described previous conviction (presumption of danger to
13                  community).
14      5.    Government Is Entitled to Detention Hearing Under § 3142(f)
15            If the Case Involves:
16            a.    a crime of violence (as defined in 18 U.S.C.
17                  § 3156(a)(4)), a violation of 18 U.S.C. § 1591, or
18                  Federal crime of terrorism (as defined in 18 U.S.C.
19                  § 2332b(g)(5)(B)) for which maximum sentence is 10
20                  years’ imprisonment or more;
21            b.    an offense for which maximum sentence is life
22                  imprisonment or death;
23            c.    Title 21 or MDLEA offense for which maximum sentence is
24                  10 years’ imprisonment or more;
25            d.    any felony if defendant has two or more convictions for
26                  a crime set forth in a-c above or for an offense under
27                  state or local law that would qualify under a, b, or c
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                                         3
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 1                   if federal jurisdiction were present, or a combination

 2                   or such offenses;

 3             e.    any felony not otherwise a crime of violence that

 4                   involves a minor victim or the possession or use of a

 5                   firearm or destructive device (as defined in 18 U.S.C.

 6                   § 921), or any other dangerous weapon, or involves a

 7                   failure to register under 18 U.S.C. § 2250;

 8             f.    serious risk defendant will flee;
 9             g.    serious risk defendant will (obstruct or attempt to
10                   obstruct justice) or (threaten, injure, or intimidate
11                   prospective witness or juror, or attempt to do so).
12        6.   Government requests continuance of _____ days for detention
13             hearing under § 3142(f) and based upon the following
14             reason(s):
15

16

17

18

19   //
20   //
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //
                                          4
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 1      7.    Good cause for continuance in excess of three days exists in

 2            that:

 3

 4

 5

 6

 7

 8   Dated: January 12, 2022             Respectfully submitted,
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